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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 18-24190-CIV-SMITH

   WILLIAM O. FULLER, and
   MARTIN PINILLA, II,

          Plaintiffs,

   v.

   JOE CAROLLO,

          Defendant.
                                                         /

                   ORDER REGARDING VIOLATIONS OF LOCAL RULE
                          AND ADMINISTRATIVE ORDERS

         Pursuant to the Court’s in-court statements on May 17, 2023, it is

         ORDERED that, by June 16, 2023 at noon, the following attorneys shall each file a sealed

  notice indicating how they wish to proceed regarding the violations of Local Rule 77.1 and

  Administrative Orders 2018-79 and 2019-87-A:

         1.      Jesse Stolow

         2.      Amber Dawson

         3.      Mason Pertnoy

         4.      Marc Sarnoff

         5.      Benedict P. Kuehne

         6.      Thomas Scott

  The Notice may include (i) a proposal to the Court as to appropriate sanctions that the attorney is

  willing to accept, (ii) a request for a contempt hearing, and/or (iii) acceptance of the Court’s
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  proposed sanctions announced in open Court, which include a two-year voluntary suspension from

  the Southern District of Florida bar and completion of ten hours of ethics continuing legal

  education. Under the Court’s proposal, an attorney may petition to be readmitted to the Southern

  District of Florida bar after one year, if the attorney is in good standing and has completed the ten-

  hours of ethics continuing legal education,

         DONE AND ORDERED in Fort Lauderdale, Florida, this 18th day of May, 2023.


                                                        ____________________________________
                                                        RODNEY SMITH
                                                        UNITED STATES DISTRICT JUDGE

  cc:    All counsel of record




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